        Case 3:24-cv-00961-JSC Document 8-4 Filed 02/20/24 Page 1 of 4



 1   Timothy M. Frank (California Bar No. 263245)
     timothy.frank@hnbllc.com
 2   HAGAN NOLL & BOYLE LLC
     820 Gessner, Suite 940
 3
     Houston, Texas 77024
 4   Telephone: (713) 343-0478
     Facsimile: (713) 758-0146
 5
     Attorney for Plaintiffs DISH Network L.L.C.
 6   and Sling TV L.L.C.
 7

 8                                  UNITED STATES DISTRICT COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA
                                       SAN FRANCISCO DIVISION
10

11    DISH NETWORK L.L.C. and
      SLING TV L.L.C.,                                Case No. 3:24-cv-00961-JSC
12
                      Plaintiffs,                     DECLARATION OF YVES REMILLARD
13

14            v.

15   VANEET SHARMA and
     ASTRO VASTU SOLUTIONS LLC,
16
                      Defendants.
17

18           I, Yves Remillard, of Englewood, Colorado declare as follows:
19           1.      I make this declaration based on personal knowledge and, if called upon to testify,
20   would testify competently as stated herein.
21           2.      I am a licensed private investigator with more than twenty-five years of experience
22   performing investigations in the television industry. I worked for the Motion Picture Association
23   and Bell Canada prior to joining NagraStar LLC (“NagraStar”) in 2023, where I am currently
24   employed as a Senior Investigator. NagraStar provides security technology used to protect Plaintiff
25   DISH Network L.L.C. (“DISH”)’s satellite transmissions of television programming from piracy,
26   i.e., unauthorized reception, retransmission, or viewing. I am responsible for investigations relating
27   to the piracy of DISH programming as well as the programming of DISH’s affiliate and co-Plaintiff,
28   Sling TV L.L.C. (“Sling”).

                                          Declaration of Yves Remillard
     Case No. 3:24-cv-00961-JSC                        1
   Case 3:24-cv-00961-JSC Document 8-4 Filed 02/20/24 Page 2 of 4




Case No. 3:24-cv-00961-JSC
   Case 3:24-cv-00961-JSC Document 8-4 Filed 02/20/24 Page 3 of 4




Case No. 3:24-cv-00961-JSC
   Case 3:24-cv-00961-JSC Document 8-4 Filed 02/20/24 Page 4 of 4




Case No. 3:24-cv-00961-JSC
